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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA

Sarah Usry and Daniel Darnell, on
behalf of themselves and all others
similarly situated,                 Case No.: 1:16-cv-00010-JRH-BKE
                                    Hon. Judge J. Randal Hall
      Plaintiffs,                   Magistrate Judge Brian K. Epps

v.

EquityExperts.org, LLC doing business
as Equity Experts, Jacqueline Galofaro,
Michael Novak, and Mark Bredow,

       Defendants.

 DEFENDANTS’ CONTESTED MOTION FOR RECONSIDERATION OF
         MARCH 5, 2020 ORDER CERTIFYING CLASS

      Defendant EquityExperts.org, LLC (“Equity Experts”), Michael Novak

(“Novak”), Jacqueline Galofaro (“Galofaro”), and Mark Bredow (“Bredow”),

(collectively, “Defendants”), through its undersigned counsel, hereby files its

Motion for Reconsideration of this Honorable Court’s March 5, 2020 Order

Certifying a Class in this matter. Specifically, Defendants ask this this Honorable

Court set aside its March 5, 2020 order certifying a class in this matter. In support

of this motion, Defendant relies on the arguments set forth in its brief below.

                        I.     STANDARD OF REVIEW

      It is appropriate to grant a motion to reconsider where a “[c]ourt has patently

misunderstood a party, or has made a decision outside of the adversarial issues


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presented to the [c]ourt by the parties, or has made an error not of reasoning, but of

apprehension.... Such problems rarely arise and the motion to reconsider should be

equally rare.” Scott v. Allstate Prop. & Cas. Ins. Co., No. 408CV236, 2010 WL

1526050, at *1 (S.D. Ga. Apr. 15, 2010) (quotes and cites omitted). As noted

in Carey v. Bellsouth Short Term Disability Plan, such a motion may be granted if

there is (1) newly discovered evidence, (2) an intervening development or change

in controlling law, or (3) a need to correct a clear error of law or fact. Slip. Op., 2008

WL 595938, 1:06-CV-2589-WSD (N.D. Ga. Feb. 29, 2008).

      This is one of those rare occasions. Although there is not “newly discovered

evidence,” there is newly available evidence, and there were misrepresentations of

fact made by the Plaintiffs in their Reply in Support of Class Certification.

Moreover, and perhaps more importantly, there are ongoing concerns regarding the

judicial economy at issue in this matter and the mounting costs of defense and

prosecution of this case where the net worth of not only Equity Experts, but also of

Bredow, Novak, and Galofaro would not result in any damage award for a potential

class. Specifically, the facts of this case suggest that Bredow, Novak, and Galofaro

did not act as “debt collectors”, and considering their $0 valuations and negative net

worth, proceeding with this case on a class-wide basis would not be superior.




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    II.   Statement of Facts Relevant to This Motion for Reconsideration

      Plaintiffs’ Third Motion to Certify a Class was filed on March 19, 2019, at

docket 93. Defendants filed their Response in Opposition to Certification (the

“Response”) on June 24, 2019, at docket 104. With their Response, all Defendants,

not just Equity Experts, asserted that the net recovery would be $0.00. Dkt. 104, Pg.

22 of 23. Defendants further iterated that its concern in pursuing a class action in

this matter would result in a net recovery of $0.00 for class members, where if an

individual action were to be pursued, in FDCPA cases, there would at least be a

possibility of $1,000.00 in statutory damages. Dkt. 104, Pg. 23 of 23.

      Thereafter, on June 8, 2019, Plaintiffs’ filed their Reply in Support of Class

Certification (the “Reply”) on July 8, 2019, at docket 106. In support of their

argument that a class action is a superior method of resolution, Plaintiffs relied on

their theory that members of the class were “unaware” that potential class members

were “unaware” that they may be able to bring suit against Equity Experts for any

alleged violations of the FDCPA. Dkt. 106, Pgs. 15-16 of 18. Plaintiffs’ counsel

must not have searched – because, proposed class members have indeed filed

separate suits against Equity Experts.

           Ashley Douget (ED MI, Case No. 4:17-cv-12806-MFL-RSW)
           Jeffrey Cross (ND GA Case No. 1:17-cv-03804-AT) (Exhibit 4 –
            Default Judgment Award against Equity Experts for $147,702)
           Davatrice Lindsey (ND GA Case No. 1:18-cv-00786-MLB)
           Marie Woodward (ND GA Case No. 4:15-cv-00082-HLM)

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           Latonya White (ED MI Case No. 2:17-cv-12102-MAG-SDD)
           Michael Gooding (ED MI Case No. 2:17-cv-12489-AJT-APP)

Moreover, some of these cases have been brought to resolution, albeit under

confidential terms.

      As referenced in Defendant’s Response at docket 93, Equity Experts has a

negative net worth, and as such, any recovery as to Equity Experts would be $0.00,

or de minimis, at best. Stunningly, Plaintiffs’ did not refute Equity Experts’ claims

that they do, in fact, have a $0.00 net worth, or a negative net worth. Instead, with

their Reply, Plaintiffs’ boldly makes the defamatory allegation that Equity Experts

has somehow doctored its books to render themselves “judgment proof”. Dkt. 106,

Pg. 15 of 18. Plaintiffs have, in fact, been in possession of Equity Experts’ financial

information since 2016, all of which reflects Equity Experts negative net worth. Dkt.

79-4, Pg. 158 of 621, reflecting portions of Equity Experts’ tax returns. Despite

having access to this information, Plaintiffs did not refute Equity Experts’ net worth

allegations of $0.00. Instead, Plaintiffs relied upon the net worth of the additional

Defendants – Novak, Bredow, and Galofaro. However, Novak, Bredow, and

Galofaro are not “debt collectors”, and cannot be held liable under the FDCPA, nor

do they have a positive net worth.

      Specifically, it would not be common for Novak, Bredow, and Galofaro to

have not contacted or communicated with the class representatives or other Georgia

consumers. In fact, it would have been unlikely for such an event to take place. Id.
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See Exhibit 1, 2, and 3. Novak, Bredow, and Galofaro did not mail letters to any of

the class representatives or any other Georgia consumers. See Exhibit 1, 2, and 3.

Neither Novak, Bredow, or Galofaro were involved in the day-to-day direction,

training, or guidance of employees as it related to debt collection activities or efforts

as it relates to any of the class representatives or any other Georgia consumers. See

Exhibit 1, 2, and 3. Neither Novak, Bredow, or Galofaro determined the specific

payment plans or settlement offers that would be extended to the Plaintiffs or

Georgia consumers. See Exhibit 1, 2, and 3. Neither Novak, Bredow, or Galofaro

created the letters, policies, or procedures for EquityExperts.org, LLC, at issue in

this matter, as many of those letters, policies, or procedures predated their

employment with EquityExperts.org, LLC, or were created with outside counsel or

compliance counsel. See Exhibit 1, 2, and 3. Neither Novak, Bredow, or Galofaro

regularly have direct contact with consumers. See Exhibit 1, 2, and 3.

      Additionally, Novak’s principal and primary purpose during the course of his

employment with Equity Experts has been financial management, balancing the

books, and working with other professional service firms. See Exhibit 1, para. 13.

Bredow’s principal and primary purpose during the course of his employment with

Equity Experts was reporting to management regarding complaints related to Equity

Experts, monitoring licensing requirements, monitoring computer networks,

working with vendors, and working to improve efficiencies and compliance. See


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Exhibit 2, para. 24. Galofaro’s principal and primary purpose during the course of

her employment with Equity Experts has been managing corporate legal matters,

managing general business operations, vendor agreements, and defense litigation.

See Exhibit 3, para. 13. Moreover, neither Novak, Bredow, or Galofaro attempt to

collect debts as a part of their employment. See Exhibit 1, para. 14; 2, para. 25; and

3, para. 14. Lastly, like Equity Experts, Novak, Bredow, and Galofaro have a

negative net worth. See Exhibit 1, para. 15; 2, para. 26; and 3, para. 15.

      Because of 1) the material misstatement regarding class members having not

filed suit against Equity Experts; and 2) the fact that Novak, Bredow, and Galofaro

are not debt collectors and therefore cannot be found liable under the FDCPA or

otherwise have $0 valuations or a negative net worth; and 3) Plaintiffs’ counsel’s

abuse of the FDCPA’s class action mechanism, Defendants respectfully request that

the Court reconsider its Order granting Class Certification.

                                   III.   Analysis

      Plaintiffs’ foundation for superiority in bringing this class action regarding

net worth is the purported net worth of Bredow, Novak, and Galofaro, should Equity

Experts net worth be negative or $0.00. However, if Bredow, Novak, and Galofaro

are not debt collectors, and therefore, are not liable under the FDCPA, or otherwise

have negative or no net worth, proceeding as a class is not a superior method as

there will result in no recovery for any class members. Curiously, despite it being


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Plaintiffs’ burden of proof and discovery having closed long ago, Plaintiffs have

taken absolutely no discovery as it pertains to Novak, Bredow, or Galofaro’s net

worth, which all Defendants asserted their Response in Opposition to Class

Certification was $0.00 or negative. Defendants request that this Honorable Court

reconsider its Order Certifying a Class in this case for this very reason, because

currently the only party standing to benefit at this point in time is Plaintiffs’ counsel,

whose attorneys’ fees are continuing to increase as time passes, which are

recoverable if the class prevails.


   a. Bredow, Novak, and Galofaro are not debt collectors, and therefore,
      their net worth, though $0.00, is irrelevant because they cannot be held
      liable under the Fair Debt Collection Practices Act.

      Employees, officers, and shareholders of debt collection companies cannot

be held personally liable under the FDCPA absent separate grounds to pierce the

corporate veil, or separate grounds qualifying them as debt collectors, none of which

are present here. White v. Goodman, 200 F.3d 1016, 1019 (7th Cir.2000), Pettit v.

Retrieval Masters Creditors Bureau, Inc., 211 F.3d 1057, 1059 (7th Cir.2000)

(noting that to the extent plaintiffs sued defendant based on his position as sole

shareholder of the debt collection company, defendant avoids personal liability

because the FDCPA does not contemplate liability for shareholders except in limited

circumstances where the corporate veil is pierced); Ernst v. Jesse L. Riddle,

P.C., 964 F. Supp. 213 (M.D. La. 1997) (granting defendant's motion to dismiss
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where the allegations of the complaint did not support a finding that the corporate

veil should be pierced to hold defendant individually liable under the FDCPA); see

also Aubert v. American Gen. Fin., Inc., 137 F.3d 976, 979-80 (7th Cir.

1998) (granting summary judgment against plaintiffs because parent could not be

held liable for the debt collection practices of its subsidiary absent alter ego

liability).

       “The Fair Debt Collection Practices Act is not aimed at the shareholders of

debt collectors operating in the corporate form unless some basis is shown for

piercing the corporate veil, which was not attempted here, or at companies that

perform ministerial duties for debt collectors, such as stuffing and printing the debt

collector's letters.” White, 200 F.3d at 1019 (emphasis added). In fact, Judge Posner

of the Seventh Circuit cautioned that such suits are “frivolous” and may be grounds

for sanctions, noting that “[t]he joinder of these defendants illustrates the all-too-

common abuse of the class action as a device for forcing the settlement of meritless

claims and is thus a mirror image of the abusive tactics of debt collectors at which

the statute is aimed.” Id; accord Pettit, 211 F.3d at 1059 (“FDCPA suits against the

owners of a debt collection company who are not otherwise debt collectors are

frivolous and might well warrant sanctions.”). Significantly, these cases hold that

shareholders and officers are not subject to the FDCPA regardless of whether they

exercise extensive control over the company:


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      [T]he extent of control exercised by an officer or shareholder is
      irrelevant to determining his liability under the FDCPA. Because such
      individuals do not become “debt collectors” simply by working for or
      owning stock in debt collection companies, we held [in White v.
      Goodman] that the Act does not contemplate personal liability for
      shareholders or employees of debt collection companies who act on
      behalf of those companies, except perhaps in limited instances where
      the corporate veil is pierced.

Pettit, 211 F.3d at 1059 (emphasis added; citations omitted); White, 200 F.3d at

1016, 1019. This is because rather than contemplate personal liability of the

shareholders or officers, the FDCPA “utilize[s] the principle of vicarious

liability.” Pettit, 211 F.3d at 1059. Because debt collection companies are on the

hook for the violations of their employees, the “company and its managers have

proper incentives to adequately discipline wayward employees, as well as to instruct

and train employees to avoid actions that might impose liability.” Id.

      Moreover, Bredow, Novak, and Galofaro do not separately meet the

definition of a “debt collector” under 15 USC § 1692a. To qualify as a debt collector,

you must meet one of two criteria: (i) your “principal purpose” is debt collection, or

(ii) you regularly attempt to collect debts “owed or due another.” See Goia v.

CitiFinancial Auto, 499 F. App’x 930, 938 (11th Cir. 2012) (“A party qualifies as a

debt collector where it operates a business that has the principal purpose of

collecting debts or regularly attempts to collect debts that are owed to another.”);

see also 15 U.S.C. § 1692(a)(6). Here, Bredow, Novak, and Galofaro did not



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materially or personally participate in the collection of debt. Nor did they regularly

engage – directly or indirectly – in the collection of debts.

      Furthermore, it would have been exceedingly uncommon for Bredow, Novak,

and Galofaro to have any contact or communication with any of the named Plaintiffs

or any of the Georgia consumers in this matter, or to have signed or sent any of the

letters at issue, or participated in any phone calls with Georgia consumers. See

Exhibit 1, generally, also, ⁋⁋ 2, 3; Exhibit 2, generally, and ⁋⁋ 5, 6; Exhibit 3,

generally, and ⁋⁋ 2, 3. See, e.g, Ditty v. Checkrite LTD, Inc., 973 F. Supp. 1320 (D.

Utah 1997); Brink v. First Credit Resources 57 F. Supp. 2d 848 (D. Ariz.

1999) (finding that an attorney and the sole member of the limited liability company

who drafted the form letter sent to the plaintiff and directed the plaintiff to make her

check payable to him individually was a debt collector under the FDCPA); Piper v.

Portnoff Law Associates 274 F.Supp.2d 681, 689-690 (E.D. Pa 2003)(finding that

where attorney in a limited partnership signed a collection letter was individually

liable for the acts of the partnership); Musso v. Seiders 194 F.R.D. 43, 46-47

(D.Conn. 1999) (high ranking executive and director of debt collection company

cannot be held liable under the FDCPA simply by virtue of his position with the

company, but could be held liable if he personally participated in the collection of

debts). As such, since Bredow, Novak, and Galofaro have not participated in any

meaningful way in the collection of debts of Georgia consumers, and because their


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principal duties are/were not the collection of debts, they cannot be held liable as

debt collectors under the FDCPA. Moreover, any net worth they have, which is

$0.00, is not properly considered in this matter. Therefore, the only net worth which

can be considered is Equity Experts, which is negative.

   b. Abuse of Statute defeats Superiority.

      The potential for abuse by attorneys and plaintiffs is another factor this

Honorable Court should consider when revaluating superiority given the

misrepresentation made by Plaintiffs – whether it was made purposefully or

inadvertently. See, Rodriguez v. Family Publications Serv., Inc., 57 F.R.D. 189, 195

(C.D. Calif 1972). The Eastern District of Wisconsin case discussed how FDCPA

cases have failed to serve their intended purpose where - as here - plaintiffs sought

to impose a substantial penalty on a defendant – claiming that they suffered greatly

at the hands of a debt collector, but also admitting that they did not incur, and would

not seek actual damages:


      This provision for attorney’s fees has turned FDCPA cases into a
      profitable vein of litigation upon which entire firms focus their practice,
      provided of course the firm can keep finding plaintiffs. ... For the most
      part, FDCPA cases appear to be much more about attorney’s fees than
      the prosecution of consumer rights. ... The plaintiffs attorneys are likely
      to receive nearly double that paid to the entire class. Every additional
      step in the litigation increases that figure for attorney’s fees. Only if a
      trial were to result in a finding that no FDCPA violation occurred would
      the defendant not have to pay the plaintiffs attorney’s fees. However,
      such a victory would be hollow given that it would require substantial
      expense in the form of its own attorney’s fees. ... Thus the plaintiffs in
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      such cases are in a highly advantageous position because prompt class
      settlements are much more cost effective than prolonged litigation.

Berther v. TYS Total Debt Management, Inc., 2007 WL 1795472 at 2-5 (E.D. Wisc.

2007); see also, French v. Corporate Receivables, Inc., 489 F.3d 402 (1st Cir. 2007)

(”Waste is not in the public interest. The Congress that passed the Fair Debt

Collection Practices Act in 1977 could hardly have wished to reward lawyers for

doing non-productive work and wasting their adversaries’ time and the time of the

courts as well.”). Plaintiffs’ class framework would result in the imposition of a

penalty that would financially harm and completely devastate the Defendants, who

already have a negative net worth, a result which is totally and completely

disproportionate to any potential recovery for individual class members. This is

exactly the type of abusive and harassing use of the class action vehicle which has

been criticized by many courts.

      While recognizing that Mace v. Van Ru Credit Corp., 109 F.3d 338, 344 (7th

Cir. 1997), mentioned in dicta only, that a de minimis recovery “should not

automatically bar a class action,” the Seventh Circuit in Mace clearly did not hold

that a de minimis recovery could not bar a class. In fact, in a situation such as the

case at bar, where there is likely not even a de minimus recovery but no possible

recovery at all, proceeding as a class action would be a complete waste of this

Court’s time. It would also be a complete waste of the class’ time. The only party

that stands to gain, due the fee-shifting provisions of the FDCPA, is plaintiff’s
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counsel by their potential receipt of massively increased attorney’s fees.

      When that fact is combined with the $0.00 recovery for the class members, it

becomes clear that the class action remedy sought by Plaintiffs – and their counsel

- should not be viewed as superior to individual claims in connection with which

putative class members would be entitled to recover something if allowed to proceed

individually. Kline v. Coldwell, Banker & Co., 508 F.2d 226, 234- 35 (9th Cir.1974)

(class treatment lacks superiority when damages “shock the conscience”); Wilcox v.

Commerce Bank of Kansas City, 474 F.2d 336, 341-47 (10th Cir.1973); In re: Trans

Union Corp. Privacy Litig., 211 F.R.D. 328, 350-51 (N.D.Ill.2002); Ratner v.

Chemical Bank New York Trust Co., 54 F.R.D. 412, 416 (S.D.N.Y.1972) (class

certification lacked superiority where violation was technical and aggregation of

statutory damages under TILA would be financially devastating for defendant).

      This potential outcome is not superior. In fact, given this counsel’s experience

with class actions, the cost of administering and mailing the class notice alone to a

class of approximately 800 would significantly exceed the class recovery, if any.

Despite the fact that the class would likely receive nothing based on defendants’

aggregate net worth, the cost of administering the class would be at minimum

approximately $5,000.00. Would plaintiff actually seek to send out 800 checks for

zero dollars? This is the type of outcome that benefits no one except for Plaintiffs’

counsel, who are entitled to their fees and costs even when there is a de minimis


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recovery from the defendants.

      Ultimately, those Plaintiffs may have been better served filing individual

actions, because as a class action, the Plaintiffs are not entitled to statutory damages,

because in sharp contrast, the individual members could pursue separate individual

actions and request up to $1,000 in statutory damages, and attorneys’ fees would be

available in each such successful case. While the class will receive nothing,

defendants will be out tens of thousands of dollars in attorneys’ fees to their

attorneys, to Plaintiffs’ attorneys (assuming an adverse result – and even without an

adverse result, they are burdened by the costs of defense by this protracted

litigation), plus the costs of class administration. This is not superior for anyone

other than Plaintiffs’ counsel, for they alone are benefitted from class certification

at this stage, where Defendants have disclosed their negative net worth as early as

2016, or at maximum, de minimis net worth.

      Defendants’ negative net worth means that there are no damages that could

be allocated among the putative class members. Courts have found that no recovery

in a class action is an inferior method of adjudication. See Jones, 215 F.R.D. at 570;

Sonmore, 206 F.R.D. at 260-61; see also Gradisher v. Check Enforcement Unit,

Inc., 209 F.R.D. 392, 393-94 (W.D. Mich. 2002) (decertifying FDCPA class when

defendant’s net worth provided each class member with potential $0.06 in

damages). Under similar facts, one court held that:


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       By certifying the class, the court would ensure a de minimus monetary
       recovery for class members, which constitutes a substantial reduction
       in what class members may otherwise be entitled to by pursuing their
       claims individually. Because plaintiffs pursuing an action individually
       are eligible to recover a maximum of $1,000, while absent class
       members in this case are eligible for a maximum of merely twenty-
       five dollars, the Court finds that the interest of class members in
       individually controlling the prosecution of their claims prevails over
       any efficiency objectives that may be achieved through management
       of the litigation as a class action. Thus, Plaintiffs have failed to
       establish that a class action is a superior method for adjudicating
       claims regarding Defendants’... conduct and form letter.

Sonmore, 206 F.R.D. at 265-66. Plaintiffs are essentially proposing that the putative

class members release all claims they could assert against Defendants under the

FDCPA in exchange for nothing other than a payday for their attorneys. See

Zimmerman v. Zwicker & Associates, P.C., 2011 WL 65912, *4-5 (D.N.J. Jan. 10,

2011) (court found that it was not fair, reasonable or appropriate to foreclose

hundreds of thousands of consumers from pursuing their FDCPA rights in exchange

for nothing). In fact, in at least one of the cases where a Georgia class member did

file an individual case against Equity Experts, they were awarded a default judgment

of $147,702 – a fact which Plaintiffs’ counsel conveniently leaves out, and again,

where they alone stand to benefit. See Exhibit 4. Accordingly, this Court should

decertify the putative FDCPA class.




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                                       Conclusion


      Based on the foregoing, Defendant respectfully requests that the Court grant

its Motion to Reconsider, and Decertify the Class Formed on March 5, 2020.

Contemporaneously with this Motion, Defendants are filing a Motion to File Net

Worth Information Under Seal. In the alternative, Defendants request a hearing to

be heard more fully on the issues regarding superiority, net worth, or any other

matters pertaining to certification.



                                       Respectfully submitted by:
                                       LAW OFFICES OF JAMES O. BASS, PC

                                       /s/ James O. Bass
                                       James O. Bass
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                       CERTIFICATE OF SERVICE

       The undersigned certifies that a precise copy of the above DEFENDANTS’
MOTION FOR RECONSIDERATION OF ORDER CERTIFYING CLASS was
filed via the Court’s Electronic Case Filing System which automatically sends
electronic notice to counsel of record as follows:

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     This 19TH Day of March, 2020

                                    Respectfully submitted by:
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                                    /s/ James O. Bass
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